 

 

UNITED STATES DISTRICT COURT

¥“-~D

mt OC?“ -7 F‘t»‘§ 3= hit
FoR THE DISTRICT oF VERMoNT » 4

 

UNITED STATES OF AMERICA )
v. § Criminal No. 5 |G » C/,t"' /~Bb "l
STEVEN C. SAWYER, §
Defendant. )
I_M)MM
_C_Q_QN_T_Q_N..E

The Grand Jury charges that:

From on or about December 4, 2009 to on or about December 22, 2009, in the District of
Vermont, defendant STEVEN SAWYER did knowingly possess, conceal, and store a Stolen
iirearm, that is, a Browning .22 caliber senn-automatic handgun (serial # 655NV19410), Which
firearm had been shipped and transported in interstate commerce, knowing, or having reasonable
cause to believe, that the firearm was stolen.

(18 U.s.C. §§ 922@), 924(3)(2))

 

Case 5:10-cr-00136-cr Document 1 Filed 10/07/10 Page 2 of 2

COUNT TWO
The Grand Jury further charges:
On or about December 22, 2009, in the District of Vermont, defendant STEVEN
SAWYER, having been convicted of crimes punishable by a term of imprisonment exceeding

one year, that is:

(1) Aggravated Domestic Assault lst Degree With a Weapon (April 9, 1999) in District
Court, Chittenden County, Vermont;

(2) Aggravated Domestic Assault 2nd Degree (February 6, 2001), in District Court,
Chittenden County, Vermont; and,

(3) Escape Custody-Facility (August 24, 2001), in District Court, Chittenden County,
Vermont,

did knowingly possess a firearm that had been shipped and transported in interstate commerce,
that is, a Browning .22 caliber semi-automatic handgun (Serial # 655NV19410).
(18 U.S.C. §§ 922(g)(l), 924(a)(2))

A TRUE BILL

TRIsTRAl\/l~/J. CoFFIN (JRP)
United States Attorney

 

 

Burlington, Vermont
October 7, 2010

